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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                              Case No.


 ALAN REDDISH,

                         Plaintiff,


 ITALIA, L.L.C.,

                   Defendant.
 ________________________________/
                                           COMPLAINT

        Plaintiff, ALAN REDDISH, by his undersigned counsel, hereby files this Complaint and

 sues, ITALIA, L.L.C., for injunctive relief attorneys’ fees, and litigation costs, including but not

 limited to disbursements, court expenses, and other fees, pursuant to the Americans with

 Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the ADA’s Accessibility

 Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”). The mandates of 42 U.S.C.

 §12134(a), and the published revised regulations for Title III of the Americans With Disabilities

 Act of 1990 in the Federal Register to implement the requirements of the ADA. This Court has

 original jurisdiction over the action pursuant to 28 U.S.C., §§1331, and 1343 for Plaintiff’s

 claims arising under 42 U.S.C. § 12181. et seq., based upon Defendant’s violations of Title III of

 the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                         INTRODUCTION

        1. Defendant owns and/or operates that certain hotel known as Wishes Biscayne Motel,

 located in Miami Florida (the “Hotel”). The Hotel has a website located at

 http://www.wishesbiscaynemotel.us/ (the “Website”). There are other third party sites where you




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 can make reservations at the hotel. The Hotel takes reservations through the Website and

 provides information regarding available guestrooms and amenities

         2. As of March 15, 2012, Defendant was required to ensure that all of its reservation

 systems, including its online reservation systems (a) identify and describe disabled accessible

 features of the Hotel in detail; (b) identify and describe disabled accessible features of ADA

 compliant guest rooms in detail; (c) permit disabled individuals to independently assess whether

 the Hotel and its available guestrooms meet their individual accessibility needs (by describing

 accessible a inaccessible features); and (d) allow reservations to be taken for accessible

 guestrooms in the same manner as for non-accessible guestrooms1. Defendant has not complied.

 This lawsuit follows.

                                       JURISDICTION AND VENUE

         3. This Court has original subject matter jurisdiction over this action pursuant to 28

 U.S.C., §§1331, 1343, as Plaintiff’s claims arise under 42 U.S.C. §12181. et seq., based upon the

 enumerated violations of Title III of the Americans with Disabilities Act (see also, 28 U.S.C. §§

 2201 and 2202).

         4. This Court has personal jurisdiction over Defendant in this action. Defendant owns or

 operates the Website, which is an interactive website through which Defendant seeks to

 consummate financial transaction (reservations and payments) with residents of this District (and

 others) who visit the Website, and Defendant violated Plaintiff’s civil rights in this District, as

 set forth more fully below.

         5. Venue lies in this District pursuant to 28 U.S.C. §1391(a)(2), because a substantial



 1
   This is a non-exclusive list of requirements imposed by 28 C.F.R. §36.302(e)(l). These requirements apply not
 only to the Website, but also to every online reservation system, including third party websites, on which
 reservations can be made to stay at the Hotel, including orbitz.com, travelocity.com, hotels.com, and others.

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 Part of the events or omissions giving rise to the claims here at issue occurred in this District;

 Plaintiff encountered Defendant’s ADA violations in this District, and the injury to Plaintiff here

 at issue occurred in this District.

                                               PARTIES

         6.      Plaintiff, ALAN REDDISH, was and is at all material times hereto above the age

 of 18 years, sui juris, and a resident of Broward County. He is a qualified individual with

 disabilities under the ADA law. Plaintiff is a confined to a motorized wheelchair since initially

 being diagnosed with primary lateral sclerosis and later diagnosed with Parkinson’s disease.

 Plaintiffs access to the premises described below (the "Property" or “Facility”) through

 Defendant's reservation system contained on its website, and therefore his full and equal

 enjoyment of the goods, services, facilities, privileges, advantages and/or accommodations

 offered at the Property, were restricted and limited because of Plaintiff s disability and will be

 restricted in the future unless and until Defendant is compelled to cure the ADA violations

 relating to the reservation system contained on its website. Plaintiff intends to visit Defendant's

 reservation system on its website for the Property soon to avail himself of the goods and services

 offered therein. Plaintiff plans to avail himself of the goods and services offered to the public at

 the property, and/or to determine whether the property has been made ADA compliant. His

 access to the facility and/or full and equal enjoyment of the goods, services, facilities, privileges,

 advantages, and/or accommodations offered therein was denied and/or limited because of these

 disabilities, and will be denied and/or limited in the future unless and until Defendants are

 compelled to remove the physical barriers and those found online, to access and ADA violations

 which exist at the facility and its online reservation system, including but not limited, to those set

 forth in the Complaint.



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         7.     Defendant, ITALIA, L.L.C., transacts business in the State of Florida and within

 this judicial district through its website. Defendant is the owner and operator of the Property, the

 hotel located at 3530 Biscayne Blvd Miami Florida and the corresponding reservation system

 found on its website and has control over its content. It also has control over the content listed in

 any third party reservation providers.

          VIOLATIONS OF THE AMERICANS WITH DISABILITES ACT AND CLAIM
                          FOR INJUNCTIVE RELIEF

         8.     On July 26, 1990, Congress enacted the ADA, explaining that its purpose was to

 provide a clear and comprehensive national mandate for the elimination of discrimination against

 individuals with disabilities and to provide clear, strong, consistent, enforceable standards

 addressing such discrimination, invoking the sweep of congressional authority in order to

 address the major areas of discrimination faced day-to-day by people with disabilities to ensure

 that the Federal government plays a central role in enforcing the standards set by the ADA. 42

 U.S.C. § 12101(b)(l) - (4).

         9.     Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

 Department of Justice, Office of the Attorney General (“DOJ”), published revised regulations for

 Title III of the Americans With Disabilities Act of 1990. Public accommodations, including

 places of lodging were required to conform to these revised regulations on or before March 15,

 2012.

         10.    On March 15, 2012, the revised regulations implementing Title III of the ADA

 took effect, imposing significant new obligations on inns, motels, hotels and other “places of

 lodging.” 28 C.F.R. §36.302(e)(l) provides that:

                Reservations made by places of lodging. A public accommodation that owns,
                leases (or leases to), or operates a place of lodging shall, with respect to



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                reservations made by any means, including by telephone, in-person, or through a
                third party –

                        (i) Modify its policies, practices, or procedures to ensure that individuals
                        with disabilities can make reservations for accessible guest rooms during
                        the same hours and in the same manner as individuals who do not need
                        accessible rooms;

                        (ii) Identify and describe accessible features in the hotels and guest rooms
                        offered through its reservations service in enough detail to reasonably
                        permit individuals with disabilities to assess independently whether a
                        given hotel or guest room meets his or her accessibility needs;

                        (iii) Ensure that accessible guest rooms are held for use by individuals
                        with disabilities until all other guest rooms of that type have been rented
                        and the accessible room requested is the only remaining room of that type;

                        (iv) Reserve, upon request, accessible guest rooms or specific types of
                        guest rooms and ensure that the guest rooms requested are blocked and
                        removed from all reservations systems; and

                        (v) Guarantee that the specific accessible guest room reserved through its
                        reservations service is held for the reserving customer, regardless of
                        whether a specific room is held in response to reservations made by
                        others.


        11.     In promulgating the new requirements, the Department of Justice made clear that

 individuals with disabilities should be able to reserve hotel rooms with the same efficiency,

 immediacy, and convenience as those who do not need accessible guestrooms. 28 C.F.R. Part

 36, Appx. A.

        12.     Hotels (and motels) are required to identify and describe all accessible features in

 the hotel and guestrooms; “[t]his requirement is essential to ensure individuals with disabilities

 receive information they need to benefit from the services offered by the place of lodging.” 28

 C.F.R. Part 36, Appx. A. Moreover, “a public accommodation’s designation of a guestroom as

 “accessible” does not ensure necessarily that the room complies with all of the 1991 Standards.”

 28 C.F.R. Part 36, Appx. A. Labeling a guestroom as “accessible” or “ADA” is not sufficient.

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        13.     In addition, hotel rooms that are in full compliance with current standards may

 differ, and individuals with disabilities must be able to ascertain which features – in new and

 existing facilities – are included in the hotel’s accessible guest rooms. For example, under certain

 circumstances, an accessible hotel bathroom may meet accessibility requirements with either a

 bathtub or a roll in shower. The presence or absence of particular accessible features such as

 these may mean the difference between a room that is usable by a particular person with a

 disability and one that is not. 28 C.F.R. Part 36, Appx. A. Accordingly, Defendant is required to

 set forth specific accessible features and not merely recite that a guestroom is “accessible” or

 “ADA” or list accessibility features that may (or may not) be offered within a particular room.

        14.     For hotels in buildings constructed after the effective date of the 1991 Standards,

 it is sufficient to advise that the hotel itself is fully ADA compliant, and for each accessible

 guestroom, to specify the room type, the type of accessible bathing facility in the room, and the

 communications features in the room. 28 C.F.R. Part 36, Appx. A.

        15.     However, for hotels in buildings constructed prior to the 1991 Standards,

 information about the hotel should include, at a minimum information about accessible entrances

 to the hotel, the path of travel to guest check-in and other essential services, and the accessible

 route to the accessible room or rooms. In addition to the room information described above,

 these hotels should provide information about important features that do not comply with the

 1991 Standards. For example, if the door to the “accessible” room or bathroom is narrower than

 required, this information should be included (e.g., door to guest room measures 30 inches clear).

 [emphasis added]. 28 C.F.R. Part 36, Appx. A.




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          16.      The Hotel is a place of public accommodation that owns and/or leases and

 operates a place of lodging pursuant to the ADA. The Hotel is in a building constructed prior to

 the 1991 Standards.

          17.      The Website (and all other online reservation platforms used by the Hotel) allow

 reservations for the Hotel to be taken online. The Defendant has control over information

 provided to the public about the Hotel through the Website and/or other online platforms.

          18.      It is critically important to Plaintiff that any hotel at which he stays is accessible

 to him, which takes some research. Plaintiff frequently researches and assesses the accessible

 features and guestrooms of hotels online, which is the fastest, easiest, and most convenient way

 for him to do so, in furtherance of any planned trips.

          19.      While in this District, Plaintiff visited the Website to learn about

 accessible features of Defendant’s Hotel, to independently assess whether the Hotel is accessible

 to him, and to see if he could reserve an accessible room at the Hotel online, in furtherance of

 staying there (if it best meets his accessibility needs) during his desired trip. Upon his visit,

 Plaintiff discovered that the Website did not provide him with any meaningful accessibility

 information at all or allow for the reservation of an accessible room (with known accessibility

 features). The Website provided information and took reservations related to non-accessible

 guestrooms, but not accessible guestrooms.

          20.      The Website homepage and reservation page contains no information regarding

 ADA accommodations.2




 2
   Defendant is cautioned against deleting or destroying any version of the Website as it existed on the date of this
 filing, inasmuch as the same may constitute evidence in this lawsuit. All changes and edits should be carefully
 saved, catalogued, and produced.

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        21.     The Website also has inadequate accessibility information concerning common

 areas and hotel amenities. There is also a list of amenities of the Hotel, not including any

 accessibility features or information. There is no indication at any point no that the Hotel

 common areas meet the 1991 Standards, or alternatively (as applicable):

                a.      Whether the public entrance to the Hotel complies with the 1991

                        Standards, and if not, the ways in which it does not comply, so that

                        Plaintiff and others similarly situated can evaluate whether it is accessible

                        to them;

                b.      Whether the registration desk at the Hotel complies with the 1991

                        Standards, and if not, the ways in which it does not comply, so that

                        Plaintiff and others similarly situated can evaluate whether it is accessible

                        to them;

                c.      Whether restaurant or other food service areas at the Hotel comply with

                        the 1991 Standards, and if not, the ways in which they do not comply, so

                        that Plaintiff and others similarly situated can evaluate whether it is

                        accessible to them;

                d.      Whether any parking facilities, lots, or other parking accommodations at

                        the Hotel comply with the 1991 Standards, and if not, the ways in which

                        they do not comply, so that Plaintiff and others similarly situated can

                        evaluate whether it is accessible to them;

                e.      Whether the swimming pool (if any) complies with the 1991 Standards,

                        and if not, the ways in which it does not comply, so that Plaintiff and

                        others similarly situated can evaluate whether it is accessible to them;



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             f.    Whether the business center complies with the 1991 Standards, and if not,

                   the ways in which it does not comply, so that Plaintiff and others similarly

                   situated can evaluate whether it is accessible to them;

             g.    Whether the meeting/ballroom areas comply with the 1991 Standards, and

                   if not, the ways in which they do not comply, so that Plaintiff and others

                   similarly situated can evaluate whether it is accessible to them;

             h.    Whether the route from the public entrance to the registration desk is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             i.    Whether the route from the registration desk to the accessible rooms is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             j.    Whether the route from the public entrance to the business center is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             k.    Whether the route from the accessible guestrooms to the business center is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;




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             l.    Whether the route from the public entrance to the pool (if any) is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             m.    Whether the route from the accessible guestrooms to the pool (if any) is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             n.    Whether the route from the public entrance to the fitness center is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             o.    Whether the route from the accessible guestrooms to the fitness center is

                   accessible in compliance with the 1991 Standards, and if not, the ways in

                   which it does not comply, so that Plaintiff and others similarly situated can

                   evaluate whether it is accessible to them;

             p.    Whether the route from the public entrance to the restaurant or food

                   service areas is accessible in compliance with the 1991 Standards, and if

                   not, the ways in which it does not comply, so that Plaintiff and others

                   similarly situated can evaluate whether it is accessible to them; q. Whether

                   the route from the accessible guestrooms to the restaurant or food service

                   areas is accessible in compliance with the 1991 Standards, and if not, the




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                         ways in which it does not comply, so that Plaintiff and others similarly

                         situated can evaluate whether it is accessible to them;

                  r.     Whether the route from the public entrance to the conference/ballroom

                         space is accessible in compliance with the 1991 Standards, and if not, the

                         ways in which it does not comply, so that Plaintiff and others similarly

                         situated can evaluate whether it is accessible to them;

                  s.     Whether the route from the accessible guestrooms to the meeting/ballroom

                         space is accessible in compliance with the 1991 Standards, and if not, the

                         ways in which it does not comply, so that Plaintiff and others similarly

                         situated can evaluate whether it is accessible to them;

            22.   This is not intended to be an exclusive list, and Plaintiff brings this action to

  remediate all violations of the ADAAG found to exist upon the Website, and upon all online

  reservation platforms used by the Hotel.

            23.   In addition to the list above, upon information and belief, Defendant may not

  effectively (i) ensure that accessible guest rooms are held for use by individuals with disabilities

  until all other guest rooms of that type have been rented and the accessible room requested is the

  only remaining room of that type; (ii) reserve, upon request, accessible guest rooms or specific

  types of guest rooms and ensure that the guest rooms requested are blocked and removed from

  all reservations systems; or (iii) guarantee that the specific accessible guest room reserved

  through its reservations service is held for the reserving customer, regardless of whether a

  specific room is held in response to reservations made by others. Discovery is required on these

  issues.




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          24.     Plaintiff will visit the Website again upon the Defendant’s compliance with the

  laws and regulations specified herein, in order learn about the accessible (and inaccessible)

  features of the Hotel, learn about the accessible (and inaccessible) features of Hotel guestrooms,

  assess the extent to which the hotels meet each of his specific accessibility needs, and determine

  whether he can reserve an accessible guestroom. If the Hotel is the most suited to his

  accessibility needs as compared to other suitable hotels reviewed online, he intends to book a

  stay there.

          25.    Defendant has discriminated against Plaintiff and all other mobility-impaired

  individuals, by denying full and equal access to and enjoyment of the goods, services, facilities,

  privileges, advantages and accommodations offered on the Websites, due to the continuing ADA

  and ADAAG violations as set forth above. Defendant has had eight (8) years to bring the

  Website (and other online reservation platforms, as applicable) into compliance with the

  ADAAG revisions, but has failed or refused to do so.

          26.    Modifying the Website (and other online reservation platforms, as applicable) to

  comply with the ADA and ADAAG is accomplishable without undue burden or expense and is

  readily achievable. But in any event, upon information and belief, the Website has been altered,

  updated, and edited, after 2010, but not in a manner compliant with 2010 ADAAG standards.

          27.    Defendant will continue to discriminate against Plaintiff and all other disabled

  individuals who access the Website (and other online reservation platforms, as applicable) unless

  and until Defendant modifies the Website (and other online reservation platforms, as applicable)

  to set forth all required information, as set forth above.

          28.    Plaintiff is without an adequate remedy at law and are suffering irreparable harm,

  and Plaintiff reasonably anticipates that he will continue to suffer this harm unless and until



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  Defendant is required to correct the ADA violations found upon the Websites (and other online

  reservation platforms, as applicable), and to maintain the Websites (and other online reservation

  platforms, as applicable), inclusive of the online reservation system, and accompanying policies

  and procedures, in a manner that is consistent with and compliant with ADA and ADAAG

  requirements.

         29.      Pursuant to 42 U.S.C. §12188(a) this Court has authority to grant injunctive relief

  to Plaintiff, including an Order that compels Defendant to enact policies that are consistent with

  the ADA and its remedial purposes, and to alter and maintain its Website (and other online

  reservation platforms, as applicable), and all online reservation systems, in accordance with the

  requirements set forth within the 2010 Standards, 28 C.F.R. §36.302(e)(l).

         WHEREFORE, Plaintiff, ALAN REDDISH, respectfully requests that this Court enter

  judgment against Defendant, and in his favor, as follows:

                  a.     A declaration that the Website (and other online reservation platforms, as

                         applicable) is owned, leased, operated, and/or controlled by Defendant is

                         in violation of the ADA;

                  b.     Temporary and permanent injunctive relief enjoining Defendant from

                         continuing its discriminatory practices, including the requirement that

                         Defendant permanently implement policies, practices, procedures,

                         including online content, consistent with the mandates of the 2010

                         ADAAG Standards on its Website (and other online reservation platforms,

                         as applicable);

                  c.     Temporary and permanent injunctive relief enjoining Defendant from

                         maintaining or controlling content on any website through which it is



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                   offering online reservations for any hotel that it owns or operates, unless

                   such website and online reservation system fully comply with 28 C.F.R.

                   §36.302(e)(l);

             d.    An award of reasonable attorneys’ fees, costs, disbursements and other

                   expenses associated with this action, in favor of Plaintiff;

             e.    Such other and further relief as this Court deems just, necessary and

                   appropriate under the circumstances.



                                                  Respectfully submitted,



                                                  s/ Lauren Wassenberg
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